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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


Edward Komito,

                  Plaintiff,

       v.                                          Civil Action No. 5: 19-cv-04679-JLS

Thomson Reuters Holdings, Inc. et al.,

                  Defendants.


                                   [PROPOSED) ORDER

       AND NOW, good cause appearing, it is on this __ day of _ _ _ _ _, 2019,

ordered as follows:



       1. Defendants are hereby temporarily restrained and enjoined from disclosing any

Information regarding Plaintiff;

       2. Defendants are further restrained and enjoined from benefitting from any

disclosure that any Defendant received prior to the entry of this Order which disclosed any

Information regarding Plaintiff; Defendants shall provide Plaintiff with a full accounting

of all such benefits and disclosures and it is further;

       3. Defendants are to establish additional appropriate safeguards above and beyond

those safeguards (if any) currently in place in order to prevent a recurrence of said issuance of

Defendants' false, defamatory, libelous and misleading reports in the future. Such reports will

meet with the approval of both the Court as well as Plaintiff;
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       4. Defendants must, within twenty (20) days of this Order, provide to Plaintiff a full

and complete listing of any and all individuals or entities who have requested, accessed or

received such reports (pertaining to the Plaintiff) over the past three (3) years, including any

predecessor entities of the current Defendants;

       5. Defendants must show cause why this Court should not issue a permanent

injunction extending such temporary relief pending an adjudication of this matter on the

merits, and

       6. IT IS FURTHER ORDERED that a hearing date be set down as soon as

possible for a permanent injunction against the Defendants, from issuing false,

misleading, defamatory, libelous and misleading reports as respects Plaintiff, and it is

further;

       7. ORDERED a letter(s) of correction acknowledging the erroneous previously

issued report(s) be sent to each and every individual or entity who accessed or received

such report over the past three (3) years. Said letter(s) to be personally signed by the CEO

of Thomson Reuters Corporation., James C. Smith, (or such other executive as this Court

deems appropriate) with a copy to be provided to Plaintiff and approved by Plaintiff prior

to mailing.

      8. Providing such other equitable relief as this Court deems appropriate.




                                                  HON. JEFFREY SCHMEHL
                                                  United States District Judge
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